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                     United States District Court Southern District of Florida

                                 CASE NO. 1:19-cr-20822-KMW



   UNITED STATES OF AMERICA,

   Plaintiff,

   v.
   JESUS MENOCAL,

   Defendant.

   _______________________________________/



                   ORDER GRANTING UNOPPOSED MOTION TO TRAVEL

         THIS CAUSE is before the Court upon the Defendant JESUS MENOCAL Unopposed
   Motion to Travel. The Court has considered the motion and is fully advised in the premises. It is

   ORDERED AND ADJUDGED that the motion is GRANTED.



                                                DONE AND ORDERED in Chambers at Miami,
                                                Florida, this ____ day of __________, 20__.



                                                ____________________________________
                                                KATHLEEN M. WILLIAMS

                                                UNITED STATES DISTRICT JUDGE
